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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20018-07-JWL


Aaron Jackson,

                    Defendant.

                                 MEMORANDUM & ORDER

       In November 2015, defendant Aaron Jackson filed a motion to reduce his sentence under

Amendment 782. The court held that it had no jurisdiction to reduce Mr. Jackson’s sentence

because Mr. Jackson remained subject to a 10-year mandatory minimum sentence regardless of

the application of Amendment 782. See United States v. Woods, 598 Fed. Appx. 567, 568-69

(10th Cir. 2015) (regardless of amendment’s effect on underlying offense level, defendant is not

eligible for a reduction under amendment beyond mandatory minimum absent statutory

authority).   Nearly six months later, Mr. Jackson has now filed a “renewed” motion for a

sentence reduction in which he asks the court “to determine if any new minimum statutory

sentence would allow for the two-point reduction” under Amendment 782. Mr. Jackson remains

subject to a 10-year mandatory minimum sentence and, accordingly, the court is not authorized

to reduce his sentence. See 21 U.S.C. § 841(b)(1)(A). For the reasons more fully explained in

the court’s January 20, 2016 memorandum and order, Mr. Jackson’s motion is dismissed.
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       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Jackson’s renewed

motion to reduce sentence (doc. 432) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 30th day of June, 2016, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge




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